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 ^ II Pro Hac Vice
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       Attorneys for Defendant ALEXANDER SMIRNOV
 9|
101| UNITED STATES DISTRICT COURT
^ ^ II CENTRAL DISTRICT OF CALIFORNIA

     I UNITED STATES OF AMERICA, ) CASE NO. 2:24-CR-00091-ODW
131                                     )
14|| Plaintiff, ) DEFENDANT'S MOTION FOR
                       ) LEAVE TO FILE UNREDACTED
     || ) SENTENCING MEMORANDUM
161| ) IN MITIGATION OF
171| ) PUNISHMENT AND EXHIBITS 1-
       v. ) 2 UNDER SEAL
                                             )
191 ALEXANDER SMIRNOV, )
201 ) Honorable Otis D. Wright H




22| — )
^ I Defendant, ) January 8, 2025 at 10:30 a.m.




23 Comes Now, Defendant Alexander Smirnov, by and through his counsel of
24 I
       record, David Z. Chesnoff, Esq., and Richard A. Schonfeld, Esq., of the law firm of
25
^ II Chesnoff & Schonfeld, and hereby submits this Motion for Leave to File his

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 11| Unredacted Sentencing Memorandum in Mitigation of Punishment and Exhibits 1 -
 2
       2 UNDER SEAL.
 3
 4 ]| This Motion is made and based upon the papers and pleadings on file herein,

 5 || the attached Declaration, and any argument that is heard or testimony that is
 6|
       adduced.
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 g I] Dated this 24th day of December, 2024.

 91| Respectfully Submitted:
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                                         CHESNOFF & SCHONFELD
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12|| /s/ David Z.Chesnoff
^ 3 I DAVID Z. CHESNOFF, ESQ.
                                         Pro Hac Vice
141 RICHARD A. SCHONFELD, ESQ.
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18 dzchesnoff@cslawoffice.net
191 rschonfeld@cslawoffice.net
                                         Attorneys for Defendant
                                         ALEXANDER SMIRNOV
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 1|| I. INTRODUCTION
 2
             Mr. Smimov respectfully seeks leave for an Order to file his Unredacted
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 41| Sentencing Memorandum in Mitigation of Punishment and Exhibits 1-2 UNDER

 5 || SEAL. Specifically, said Memorandum and Exhibits contain confidential
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       information which is covered under the protective order in this case. See ECF 59.
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 g |[ It is respectfully submitted that the information contained in said

 9 Memorandum and Exhibits are relevant to Mr. Smirnov's upcoming Sentencing
10|
       hearing, and the materials should be permitted to be filed under seal for this

121| Honorable Court's consideration.


13 I II. ARGUMENT
14 I
             A party seeking to file a confidential document under seal must file a motion
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161| to seal and must comply with the Ninth Circuit's directives in Kamakana v. City

171 and County of Honolulu, 447 F.3d 1172 (9th Cir. 2006).
18
             Here, it is respectfully submitted that there are compelling reasons and good

20 II cause for the referenced documents to be filed under seal, as the documents contain


       confidential information which is covered under the protective order in this case.
22 I
       See ECF 59. It is respectfully submitted that the unredacted items identified above

24 II should be filed under seal.

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 1|| III. CONCLUSION
 2]
           In conclusion, Mr. Smimov hereby moves this Honorable Court for an Order
 3
 41| to file his Unredacted Sentencing IVIemorandum in Mitigation of Punishment and

 5 I Exhibits 1-2 UNDER SEAL.
 6|
 71| DATED: December 24, 2024
 g II CHESNOFF AND SCHONFELD

 91 /s/ David Z. Chesnoff
10 I
                  DAVID Z. CHESNOFF
1 ^ II RICR^RD A. SCHONFELD
121| Attorneys for Defendant

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 1                   DECLARATION OF DAVID Z. CHESNOFF, ESQ.
 2|
             I, DAVID Z. CHESNOFF, declare as follows:
 3
             1. I am a partner at the law firm of CHESNOFF & SCHONFELD and

       am retained as co-counsel to represent Defendant Alexander Smirnov in the instant

 6|
       matter, and I am familiar with the facts and circumstances of this case;
 71
 8           2. Defendant Alexander Smimov respectfully moves this Honorable

       Court for permission to file his unredacted Sentencing Memorandum in Mitigation
10|
       of Punishment and Exhibits 1 -2 UNDER SEAL. Specifically, said Memorandum


12 I and Exhibits contain confidential information which is covered under the protective

       order in this case. See ECF 59. It is respectfully submitted that this information is
14 I
       relevant to Mr. Smirnov's upcoming Sentencing hearing, and the materials should


16     be permitted to be filed under seal for this Honorable Court's consideration;

             3. It is respectfully submitted that there are compelling reasons and good
18|
^ ^cause for the referenced documents to be filed under seal, as the documents contain
     .^>.^    ^..... .^^^ ^^^^ ^ ^ ^^ ^^ ^^,

20     confidential information covered under the protective order in this case. It is


       respectfully submitted that the unredacted memorandum and Exhibits 1-2, be filed
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       under seal;
23 11 """" "~""'




24           4. My office is providing notice to counsel for the government of this

25      II   r-1     •   .in   •     x   *•   •   Tk     /•.   •   .   •   m      •
       filing and the unredacted Sentencing JVIemorandum in Mitigation of Punishment
26 I
       and Exhibits 1-2 via email.
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 11 5. The facts and circumstances set forth in the foregoing Motion are true
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       and correct to the best of my knowledge and belief.
 3
 4 I declare under penalty of perjury that the foregoing is true and correct.

 5 || EXECUTED this 24th day of December, 2024.
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                                       /s/ David Z. Chesnoff
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                                       DAVID Z, CHESNOFF, ESQ.

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 11| CERTIFICATE OF SERVICE
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             I hereby certify that on this 24th day of December, 2024, I caused the forgoing

 41| document to be filed electronically with the Clerk of the Court through the CM/ECF

       system for filing; and served on counsel of record via the Court's CM/ECF system.
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                                       /s/ Camie Linnell
                                       Employee of Chesnoff & Schonfeld
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